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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS

 JUSTIN SWIRES, individually and                    )
 on behalf of others similarly situated,            )
                                                    )   Case No.: 3:12-cv-01232-JPG-DGW
                    Plaintiff,                      )
                                                    )
        -vs-                                        )
                                                    )
 INCREDIBLE SCENTS, INC.,                           )
                                                    )
                    Defendant.                      )
                                                    )

                          NOTICE OF INDIVIDUAL SETTLEMENT

        COMES NOW Plaintiff Justin Swires and Defendant Incredible Scents, Inc., by and

 through counsel, and hereby notify the Court that the parties are finalizing an individual

 settlement of the above matter. Once the parties have completed the settlement papers, they will

 file a stipulation of dismissal pursuant to Federal Civil Procedure Rule 41. The parties hereby

 request that this matter be removed from the trial docket.


 Dated: September 24, 2013                 By:    /s/ Brian T. Kreisler
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                                                 Counsel for Plaintiff Justin Swires
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                                         #314




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                                        By:      /s/ David B. Helms
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                                              Counsel for Defendant Incredible Scents, Inc.




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 24th day of September, 2013, a true and
 accurate copy of the foregoing was electronically filed with the Clerk of the Court using the
 CM/ECF System, which will send notification of such filing to all counsel of record.


                                               /s/ David B. Helms




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